                    Case 2:09-cr-00135-GEB Document 63 Filed 07/07/14 Page 1 of 3
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                  United States District Court
                                          Eastern District of California

         UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                    v.                                                 (For Revocation of Probation or Supervised Release)
                                                                       (For Offenses committed on or after November 1, 1987)
         RONALD BRADFORD LIPMAN
                                                                       Criminal Number: 2:09CR00135-02
                    (Defendant’ s Name)

                                                                       Matt Scoble
                                                                       Defendant’ s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge(s) 1 through 5 as alleged in the violation petition filed on 3/11/14 .
[]  w as found in violation of condition(s) of supervision as to charge(s)   after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the follow ing violation(s):

Violation Number                   Nature of Violation                                   Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on     2/1/10 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]      Charge(s)         is/are dismissed.


        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

       IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

                                                              6/27/14
                                                              Date of Imposition of Sentence




                                                              Signature of Judicial Officer

                                                              GARLAND E. BURRELL, JR., Senior U. S. District Judge
                                                              Name & Title of Judicial Officer

                                                              7/7/14
                                                              Date
                    Case 2:09-cr-00135-GEB Document 63 Filed 07/07/14 Page 2 of 3
AO 245D-CAED (Rev. 09/2011) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:              2:09CR00135-02                                                          Judgment - Page 2 of 3
DEFENDANT:                RONALD BRADFORD LIPMAN

                                                    ADDITIONAL VIOLATION
                                                                                 Date Violation
Violation Number                   Nature of Violation                           Concluded

1                                  Unlaw ful Use of a Controlled Substance       11/1/13

2                                  Failure to Comply with Drug Testing           11/21/13

3                                  Unlawful Use of Controlled Substance          1/25/14

4                                  Unlawful Use of Controlled Substance          2/7/14
                    Case 2:09-cr-00135-GEB Document 63 Filed 07/07/14 Page 3 of 3
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:09CR00135-02                                                                Judgment - Page 3 of 3
DEFENDANT:                RONALD BRADFORD LIPMAN


                                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 5 months .



[U]     No TSR: Defendant shall cooperate in the collection of DNA.

[]      The court makes the follow ing recommendations to the Bureau of Prisons:



[]      The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on     .
        [ ] as notified by the United States Marshal.


[U]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [U] before 2:00 p.m. on 7/7/14 .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                         RETURN
I have executed this judgment as follow s:




        Defendant delivered on                                       to

at                                             , w ith a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL



                                                                             By
                                                                                              Deputy U.S. Marshal
